           Case 1:20-cv-00222-LM Document 4 Filed 07/16/20 Page 1 of 1



                         UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW HAMPSHIRE


Charles N. Eggert, Jr.

      v.                                          Case No. 20-cv-222-LM

Sanders et al




                                     ORDER


     No objection having been filed, I herewith approve the

Report and Recommendation of Magistrate Judge Andrea K.

Johnstone dated June 2, 2020.         “‘[O]nly those issues fairly

raised by the objections to the magistrate's report are subject

to review in the district court and those not preserved by such

objection are precluded on appeal.’”          School Union No. 37 v.

United Nat'l Ins. Co., 617 F.3d 554, 564 (1st Cir. 2010)

(quoting Keating v. Secretary of Health & Human Servs., 848 F.2d

271, 275 (1st Cir.1988)); see also United States v. Valencia-

Copete, 792 F.2d 4, 6 (1st Cir. 1986) (after proper notice,

failure to file a specific objection to magistrate's report will

waive the right to appeal).


                                           ____________________________
                                           Landya B. McCafferty
                                           Chief Judge

Date: July 16, 2020


cc: Charles N. Eggert, Jr., pro se
